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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney                                                      **E-filed 5/18/06**
2
     EUMI CHOI (WVSBN 0722)
3    Chief, Criminal Division
4    EDWARD TORPOCO (CSBN 200653)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-7071
7       Facsimile: (415) 436-7234
8    Attorneys for Plaintiff      UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11
12   UNITED STATES OF AMERICA,           )                 No.: CR 05-00715-4 JF (HRL)
                                         )
13          Plaintiff,                   )                 STIPULATION AND [PROPOSED]
                                         )                 ORDER TO CONTINUE SENTENCING
14          v.                           )
                                         )
15   JIA JING CHU,                       )
                                         )
16          Defendant.                   )
                                         )
17                                       )
                                         )
18   ____________________________________)
19          The parties stipulate as follows:
20          1. Defendant Jia Jing Chu is presently scheduled for sentencing on June 7, 2006, at 9:00
21   a.m.
22          2. Undersigned counsel for the government will be leaving the U.S. Attorney’s Office at
23   the end of May 2006. In the interest of facilitating an expeditious resolution of this case, and
24   avoiding the discontinuity and delay associated with substitution of new government counsel, the
25   parties jointly request that this sentencing hearing be advanced to Tuesday, May 23, 2006, at 9:00
26   a.m.
27          3. The United States has cleared the new proposed date with U.S. Probation, which has
28   already prepared the draft Pre-sentence Report, and the Court’s Courtroom Clerk.

     STIPULATION AND ORDER
     (CR 05-00715-4 JF)
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1           IT IS SO STIPULATED.
2
3           DATED: __May 2, 2006______                         __/s/ EDWARD TORPOCO__
                                                               EDWARD TORPOCO
4                                                              Assistant U.S. Attorney
5
6           DATED: _May 16, 2006______                         __/S/ BARRY MORRIS__
                                                               BARRY MORRIS
7                                                              Counsel for Defendant Jia Jing Chu
8           The sentencing hearing for Defendant Jia Jing Chu is hereby re-set from June 7, 2006,
9    at 9:00 a.m., to May 23, 2006, at 9:00 a.m.
10          PURSUANT TO STIPULATION, IT IS SO ORDERED.
11
12                   5/18/06
            DATED: ___________________                         ________________________
                                                               HON. JEREMY FOGEL
13                                                             United States District Judge
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     STIPULATION AND ORDER
28   (CR 05-00715-4 JF)
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